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                             iN THE UNITED STATES DISTRICT COURT
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                              FOR THE WESTERN DISTRICT OF TEXAS                 O
                                                                 29Jti!L3O ri2:
                                        AUSTIN DIVISION

    J.E.B., INDIVIDUALLY AND AS NEXT                                          VfESL"
    FRIEND TO F.C.B.,
                     PLAINTIFF,

    V.

    CLAY DEAN HILL, OWNER OF
    SHILOH TREATMENT CENTER,
    DIB/A SHILOH TREATMENT                               CAUSE NO. 1:1 9-CV-444-LY
    CENTER; SHILOH TREATMENT
    CENTER, INC., JUAN J. SANCHEZ,
    FORMER CEO AND CONTROLLING
    INDIVIDUAL iN THE SWK ENTITIES;
    SOUTHWEST KEY PROGRAMS, INC.,
    D/B/A SOUTHWEST KEY,
                    DEFENDANTS.

                                                ORDER

             Before the court in the above-styled and numbered cause are Defendant Juan J. Sanchez

    and Southwest Key Programs, Inc.'s Motion for Judgement on the Pleadings filed July 12, 2019

    (Dkt. No. 12) and Plaintiffs Response to Defendants' Motion for Judgment on the Pleadings

    filed July 24, 2019 (Dkt. No. 14). This case was filed on April 23, 2019. Contained within

    Plaintiffs response is a request for leave to amend the complaint, which Defendants oppose.

             "[L}eave to amend should be freely given when justice so requires." Fed. R. Civ. P.

    15(a).   This case remains in its infancy. The parties have yet to submit a proposed scheduling

    order and the court has yet to render a scheduling order setting a deadline for amending

    pleadings. Having considered the case file and the applicable law, the court concludes that as the

    case is in the early stages, and so as to allow inclusion of facts and claims, the court will

    GRANT Plaintiff's request for leave to amend his complaint. Plaintiff may file an amended

    complaint on or before August 26, 2019.
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       In light of allowing Plaintiff to file an amended complaint and to maintain order with the

pleadings and motions, the court will dismiss the Defendants' motion for judgment on the

pleadings without prejudice. Accordingly,

       IT IS ORDERED that Defendant Juan J. Sanchez and Southwest Key Programs, Inc.'s

Motion for Judgement on the Pleadings filed July 12, 2019 (Dkt. No. 12) is DISMISSED

without prejudice to refiling.

       IT IS FINALLY ORDERED that the parties are to submit to the court a Proposed

Agreed Scheduling Order, in accordance with Federal Rule of Civil Procedure 26(f), that follows

the form scheduling order of this court located on the website for the United States District Court

for the Western District of Texas (www.txwd.uscourts.gov), the "Forms" tab, "Civil," "Austin

Division," "Proposed Scheduling Order for Judge Yeakel," on or before August 29, 2019.

       SIGNED this                 day of July, 2019.




                                                 ITED STATES DIS RIICT JUDGE
